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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

    Anna Ulubiyo,
      Plaintiff,
         v.                               CIVIL ACTION FILE
                                          NO. 1:20-cv-04362-WMR-JSA

    Healthcare Revenue Recovery
    Group, LLC d/b/a Account
    Resolution Services,
      Defendants.


                                   ORDER

        The parties have announced that this case has settled [Doc 15]. The

Court DIRECTS the Clerk of Court to ADMINISTRATIVELY CLOSE

this case. The parties shall file a dismissal or other filing disposing of

this case upon finalization of the settlement. If settlement negotiations

fail, the parties shall promptly move to reopen the case. 1

        SO ORDERED this 8th day of June, 2021.




1 Administrative closure is a docket-control device used by the Court for
statistical purposes. The parties need only file a motion to reopen the
case if settlement negotiations fail. Administrative closure will not
prejudice the rights of the parties to this litigation in any manner.
